 Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 1 of 10 PageID #:2008


                                                               I
                   STATEMENT OF PEDRO tLORES -JUNE 4, 2009

I.      Introduction
        .....       •   ......   •    ........   ....       ',,,_   ••   ,..   .••   ,.           1 ____ 1:"
        My name IS l'earo t Jores. 1 nave tesn~Jea oerore rms grana JUry on a numoer ot
occasions. I am giving this statement freely an~voluntarily, pursuant.to proffer letters with
the United States Attorney's Offices for the Ea tern District of Wisconsin and the Northern
District of Illinois. I have read this statement c refully and have been given an opportunity
to go over it with my attorney and to make ch gcs. This statement is just a summary and
does not contain every detail I remember about the drug trafficking activities in which I have
participated. If asked additional questions, I co~ld provide more detail. As with my previous
statements and as I will discuss in greater detail later in this statement, although no promises
have been made to me regarding my cooperati n or the sentence I will ultimately receive, I
am cooperating with the government in the hop of receiving a reduced sentence in a federal
case where I have been indicted on federal narbotics charges.
       As I have testified previously, since                app~oximately
                                                        1998, my twin brother, Margarita
Flores (who I will generally refer to in this tatement as "Margarita"), and I have been
r~spo?sible ~~r the ~~strib~~?n ofth~u~ands of ilo~ra~~s O.fco:ain.e in_?~ic~~~~I~I~i~o-is_~~~
eJsewnere. JVmrgarno ana 1 nave acrea as pan~ers m we urug ou>me~~. <tuu wr111to wt: <;<to.;ll
perform different roles, we are generally awarlof each other's activities and we coordinate
our business together. Throughout this stat ment, I will refer to our drug-trafficking
organization as the "Flores DTO." In terms of ur operation in Chicago, Illinois and. th.e rest
of the United States, I held the primary respons'bility. Margarito was primarily responsible
for coordinating the receipt of drugs from our ~ources of supply in Mexico. This statement
will talk about our drug trafficking in general~but will focus primarily on our interactions
with two of our primary sources of supply, J aquin Guzman-Loera (who I know as "El
Chapo" or "Chapo Guzman"), and members of is organization, and Ismael Zambada-Garcia
(who I know as "el Mayo" or "Mayo Zambad '),and members of his organization.
                                                        1
       ~   appr:::::::               ;;~~:;:~~: :~-:l:t~~7:~:::i:·uting
                                                                  cocaine in Chicago. By
approximately 1999, Margarito and I had exp ded our business and were selling wholesale
quantities of cocaine to a large customer bas throughout Chicago. From approximately
2000 through 2008. we steadilv increased the vblume of our business. which I will describe
later in deUil. Fro~ 2006 thr~ugh 2008, we wl:re coordinating, at it~ peak, the d.istribution
in Chicago to our customer base of approxim tely 1500 to 2000 kilograms of cocaine per
month. From approximately 2000 to 2007, our Mexican sources of supply primarily
delivered cocaine to us in Chicago. Beginning n approximately late 2006, we expanded our
business and be~Yan al.~o rPr.Pivi~o- r.or_;ine: in -Me:Yi;n ~nil T.n~ -Ano-P:le:~ \Vhe:n· ~e: re~P:iverl
cocaine in place~ othe;;h~~-Chi-;;g;~ fui-~-~;~~if~~~ ;~e~~~; ~~~~~~~ed i~~ac~;r-~~ile~;


                                                            -1-1
                                                               I



                                                                                                 GJTR 005 0223
 Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 2 of 10 PageID #:2009


                                                 I

with hidden compartments, or "traps," located~·n the roof. These same trap compartments
were used to transport money from the sale f the cocaine. In addition to these tractor
trailers, we also used freight trains to transpo cocaine. Although we had customers in
several cities. most of the cocaine that Margarit and I distributed in the United States at one

~;:;;~~;t~:o~~~e~h~~:;~·. !~:~~~~~i:;~r~;~r~~:ii~:d:~~;ro~~~~~~~~u~~~:t~:::
Chicago area.
       B.       Move to Mexico
                                 0                                0
there,~:~~~:~~,~~::~    :~:1!  ~:b~!:gt~i:~1l,v:~t;:·~:~~~o     ~~;~~~~~rin.· ;a.r;~~.;~O~~~
began to fear that I would soon be arrested o narcotics trafficking charges and I made a
similar move to join Margarito in Mexico. On e I arrived in Mexico, Margarito helped me


up a drug distribution and money collection n twork allowing us to operate from Mexico.
As Margarito and I continued to take delivery of and distribute cocaine, our organization
continued to grow.                                              .
       C.       Summary of the Structure ofth~ Flores DTO
       In running our narcotics trafficking bus~ess,   we dealt, broadly speaking, with three
groups of people. The first group was our urces of supply of cocaine and heroin in
Mexi~?· ~h~:e i~divid~als o~tai?ed, l.arge q~ ities of~~caine; her~.in, m:,rri~u~n~, :_ndoth~~
narcoucs m JVleXICO ana we omameo 1arge smpiJlems or urugs rrom tm:m mat we mtum ~u1u
in the United States. The second group was of "workers" or "crew" in the United States,
individuals who, at our direction, took deliver.y flarge shipments of cocaine and heroin and
distributed those drugs to our customer base, nd in turn received, packaged and returned
large amounts of money to us in Mexico. Thes individuals worked at our direction, and we
paid them to provide these services to us. The ~hird group was our wholesale customers in
the United States. Margarito and I maintained 1proximately 30 large customers for cocaine
and heroin in the United States in eight princi a! cities: Chicago, New York, Washington,
D.C., Philadelphia, Cincinnati, Columbus, De oit, and Los Angeles. We also had a large
wholesale customer in Vancouver, Canada. W en we took delivery of a load of cocaine, on
almost all occasions we either took delivery irl Chicago, or took delivery elsewhere in the
United States and arranged to have the drugs t~ansported to Chicago, where we distributed
the drugs to our customers. We maintained several warehouses and "stash houses" in
Chicago and other cities where our crew un oaded shipments of drugs for delivery to
customers, and then in tum counted and pack ged money from payments for those drugs.
Generallv. we made deoosits ofmonev to our Mexican sources of in sunnlv in Chica!w or
Los Ang~les for drugs that we received in the inited States. I am aware"th;t these de;osits


                                             -2-1
                                                I



                                                                                        GJTR 005 0224
Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 3 of 10 PageID #:2010



were then transported to Mexico, because in         instances, one of our workers would go
to stash houses belonging to our sources of          in Mexico to verify that the count of the
money was correct. For drugs that we                 in Mexico, we generally made money
deposits in Mexico. Regardless of where we .. .__,,"~'   the money, from my conversations
with our sources of supply, I am aware that       money was ultimately transported to our
Mexican sources of supply. I understood that of the money deposited to our sources of
supply that was collected from our customers     transported to Mexico was provided to our
sources of supply in order to perpetuate our      trafficking activities.




                                             -3-1



                                                                                      GJTR 005 0225
Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 4 of 10 PageID #:2011




               2.                                             Unknown ("Alfredo" and -
       In approximately 2005, I met a man
last name. I was introduced to Alfredo by a
at a car dealership in Guadalajara. I do not
Chapo as a bodyguard and also performs
Alfredo, Alfredo told me that he was a liJ...
                                                 tasks. When
                                                             - ·s
                                              1 know as Alfredo. I do not know Alfredo's
                                                that I know as
                                                             real name.
                                                                         introduced me to
                                                 friend of Chapa's and was godfather to
                                                   HJUI::.


Chapa's son Alfredillo. Alfredo told me that handled logistics for Chapa. Over time, I
learned from Alfredo that he oversaw the              ·on of cocaine for Chapa in several
different ways. On behalf of Chapa, Alfredo             the transportation of cocaine from
Colombia to Mexico in airplanes; was i             in the transportation of cocaine from
Colombia to Mexico in some sort of                used to evade law enforcement and the
military when moving cocaine across the       ocean; and facilitated the transportation of
cocaine in rail cars.
       Shortly after I met Alfredo, I also met               wife -       . I believe that -     's last
name is the same as Alfredo's, however, I do           know what it is. I have been shown Exhibit
#6, which is a photograph of-      .         ,,..... ,)".,.,., closely with her husband in transporting

                                                  -7




                                                                                                GJTR_005 0229
  Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 5 of 10 PageID #:2012



 both cocaine and cocaine proceeds. Together                 -      Alfredo handled the logistics of
 transporting large shipments of bulk                        -r:;   drug proceeds, including the
 transportation of payments made to Chapo by                customers and payments made by Chapo
 to his sources of supply. In addition,                     and -      exchanged money from the
 currency of one nation to another.
         In late 2006 or early 2007, Margarita       I entered into an agreement with Alfredo
 and his wife -        to establish a series of     panies that would allow us to more easily
 move cocaine throughout the United States. t this point, Margarita and I were moving
 almost all of the cocaine that we distri               in semi-trucks and trailers with trap
 compartments in the roof. 'While this system              very well for us, we wanted to have a
 back-up plan or insurance policy to suppl ...lu'f'u• the trucks. Alfredo had previously told
 Margarita and I that he \Vas involved with a        company in the 1990's with a person that
 I knew a s - . Due to Alfredo's prior                       in dealing with the trains, Margarita
 and I thought that he would be a good person approach regarding our idea to branch out
 into train transportation. Margarito and I dec          to invest approximately $600,000 with
 Alfredo and -        to set up an importing          and a logistics company. We understood
 that the companies would be legitimate and            actually import and sell goods; however,
 the real purpose for these companies was to         as a front that would allow us to transport
 cocaine by train.
           Margarita and I told Alfredo that we              willing to invest money and wished to use
   the trains to transport our cocaine, but we             not want to be responsible for running the
   businesses, so we allowed Alfredo and                      decide what kind of companies to create.
   We later learned that they decided to ...........v~''""•'·... a furniture importation company. We
   agreed that, in addition to providing the $600,            in start up money, that we would also pay
   Alfredo and -         a fee each time we used              train. On average, we paid Alfredo and
  -        approximately $1000 per kilogram                cocaine that we moved by train. While
  Margarito and I did not participate directly in                  decisions for the businesses, Alfredo
   and -       would occasionally ask us for our                  and would let us know what was going
   on with the companies. After the company                 started we learned that Alfredo an~
  had hired a man they referred to                             I met this man several times, but I do not
· his name. Margarita and I also knew three                          who participated in setting up the
  companies. The brothers' last name                         While I met all three brothers at one point,
  I knew                     the best. I have been                 Exhibit #7, which is a photograph of
                                   brothers were in                ofloading and unloading the trains at
  the warehouses near the train lines that AI                            had set up. Once this operation
  was up and running, we began using it to                      cocaine from Los Angeles to Chicago in
  the walls of rail cars. The first load that we                 was in late 2007.
         In approximateiy October or N                    . 08, Margarita and I arranged to have 200


                                                   -8-1
                                                      I




                                                                                                GJTR 005 0230
  Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 6 of 10 PageID #:2013



  kilograms of cocaine transported from Los                               les to Chicago using the train system that
  we set up with Alfredo and -                     . On "'"''"''",.,'"krn       November 3, 2008, Alfredo, -
-            ·and others came to visit Margarita                        at my house in Guadalajara. While Alfredo
  was at my house, we discussed many things,                                       the load of cocaine that we were
  ('11,.,-PntJv mnu1n 0 U!ttll thP
 ._-.A.A¥.6-A"'.&.J            ......_.&.._ t.-a1n
                      .&..A.....,T..I..I.&.o......
                                               Tl.L"-&.6.
                                                                                        ••af rhatJO USeS t.O t.ransport
                                                    f"I"MP nf tlle .1, 7, ::llrt)hneS t.h
                                                                                  .&.&.&'   '-F.L .. _   '.J.&.- - ·--.a.
                                                                                                                  ".1..1          _......,_..&.    -~---   ---   ---..._-    -·---     -



  cocaine, which Alfredo organized, and an ·                                    load of cocaine Chapo was bringing
  from Colombia in a submarine that Alfredo,                                     and I had all invested in. I recorded
  this conversation by placing a digital                                    device in my pocket. I have had the
 7~::~:11!~~ t~..~~~~; ~~=1 ,r:_cor~=g~~~o~~i~=~~=~a ~~~ ~=~~~~~~"~~~~~~d~~ p?~:~~~:·":~ht~:~
 HHU,U'I;>U Ull;            'I;>JI...lUUl~         ~U\_,.l\.1;;;1.                Vll       LHl~         vlJ i:lil;; UUI;; aUU a'-''-'UlaLv '"'VPI'-'>:1                    VJ. J.¥¥VJ.UUJ.t;,>:>     •uu~


 Margarita and I         including a true and         recording of the conversation that
 Alfredo,                  Margarita, and I   on approximately November 3, 2008. I am
 also aware that Margarita recorded a portion this conversation as well on a cell phone.
                                                                                  house, the only cocaine that I was aware
 was in transit in the train was the 200                                          belonging to Margarita and I. However,
 during our conversation, Alfredo informed me                                      he had placed an additional 76 kilograms
 of his own cocaine into the same train car.                                     fredo told Margarita and me that he was
 running very short on money and asked if                                         would be willing to purchase these 76
 kilograms. I told him that we would only                                            the cocaine if we cou1d agree to a price
 that would allow Margarita and me to make                                            of a profit from the cocaine to make it
 worth taking on the risk of the extra kilos.                                            asked Margarito and me what the
 wholesale value of cocaine was in Chicago.                                    e told him that, at that time, it was between
 $30,000 and $30,500. Eventually, Margarita                                        I agreed to purchase the load of76 kilos
 nf         ror.!:!inP
 .......... .... "'_..... &_ fn.- !:IT'\1"1.-nVim
                                  ""'!" y.a.
                            .L'-".&.
                                                  <;ltPlu
                                                     'W'.I..}
                                                              It')
                                                     ~;1.11...1.
                                                                   1 hh (\(\()
                                                                     vv,vvv,
                                                                   J..J.4.A. ..
                                                                                        n.rnrlr      ..~ n11t
                                                                                          '-'A.,_,.,.."""'
                                                                                        41~,.
                                                                                                                     It')~ ..:;;nn
                                                                                                           V""-"' tn 4'._'-',._, .._, V
                                                                                                                                        nP1"
                                                                                                                                        y ... lriln
                                                                                                                                                  't''f          'L-"-'                      .a.   .&.lo..A.A.'.J•




 Approximately one week later, the train                                        the cocaine arrived at Alfredo's warehouse
 in Chicago. I sent my workers to provide AI                                     's workers with a Nissan Murano in which
ito place the 200 kilos of cocaine that already b onged to Margarita and I, as well as the 76
 kilos that we had agreed to purchase from                                               Once the train arrived in Chicago,
 Alfredo's workers loaded the Murano and                                                         called Margarita to tell him that
 the kilos were ready to be picked up.                                                      called our worker Cesar Perez and
 told him to meet Alfredo's workers at a ..." ....~..,..,·~~restaurant located near 159th Street. A short
 time later, I talked to Cesar, who confirmed                                    he picked up the 276 kilos.
         During the same conversation on                                                                                              November 3, Alfredo also explained
 to Margarito and me the specifics of how                                                                                       's airplane operation worked to transport
 cocaine from Central and South America to                                                                                          This was not the first time that Alfredo
 talked to us about the airplane. Essentially,                                                                                     explained that Chapo had multiple 747
 aircraft that he used for this purpose. Alfredo                                                                               lained that the 74 7s were cargo planes with
 no seats in the body of the aircraft. Chapo                                                                                   arn:mge to have a shipment of clothing sent
 to Central or South America as part of a                                                                                             aid project. Once the planes landed


                                                                                                                      -9-1
                                                                                                                           I




                                                                                                                                                                                             GJTR_005 0231
  Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 7 of 10 PageID #:2014


                                                I
in Central or South America, the clothing wasiffloaded and up to 13 tons of cocaine was
loaded onto the plane for the return trip to Me ico. The planes would land at Mexico City
International Airport and Chapo would then u his contacts to have the cocaine offloaded
from the planes and get the cocaine out of the 'rport. Alfredo explained specifically about
the last few trips with the p!a..11e..Alfredo told " about occasions in whic.h he organized for
Chapo trips bringing back 1700, 7000, and 12, 00 kilos of cocaine.
        In addition to. her involvement in the trai companies,-      also was involved in the
 transportation of bulk currency from Chicago or Los A~ to Mexico. For a fee of
 approximately 3 to 7 percent of the money tr nsported, -          would guarantee that she
 would transport money safely from one locati n to another. From my conversations with
-        I know that she was aware that the rnone that she transported was proceeds from the
 sales of drugs and that -        was transportin the money in order ~ctuatc the drug
 conspiracy in which we were all involved. We m ved money through -          s transportation
 system approximately dozens of times. The mo ey that she transported on our behalf ranged
 from shipments of approximately $100,000 up o several millions dollars. - told me
 that she transported the money by both cars an planes. When large sums of money were
 being transported,                use private planes to move the money.




                                                                                         GJTR 005 0232
Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 8 of 10 PageID #:2015




        Among other methods, I am                       y aware that Chapo, Mayo, and their
organizations used 747 cargo planes to ........",...t ton-quantities of cocaine from Central and
South America to Mexico. I am also aware               Chapo, Mayo, and their organizations used
smaller airplanes, submarines, tractor                 with trap compartments, container ships,
fishing vessels, go-fast boats, buses, trains,         personal automobiles to transport cocaine,
first from Central and South A_merica to             ico; and then from Mexico into the United
States.




                                                                                            ~-~.
                                                                                         GJTR_005_ 0236
Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 9 of 10 PageID #:2016




vi.     Closing Remarks
       In total, since 1998, Margarito and I       responsible for the distribution ofthousands
ofkilograms of cocaine from Chicago and •..:P,lvn,prp supplied to us by our sources of supply
in Mexico. Other than the few shipments           cocaine and heroin that were seized by the
authorities or stolen, all ofthis cocaine was          'buted to our customers. Tn the spring of
2008, I realized that I vvould not be able to                  t"lis kind of a life forever, I began the
process of my cooperation and have been                            ever since. Although no promises
have been made to me regarding my                        I am cooperating in hopes of receiving a
reduced sentence in a federal case where I       e been indicted on federal n arcotics charges.
In addition, altlwugh I am not cooperating in"'·~·............."' for any benefits received, the federal
government has provided some assistance in ocating my family from M:exico to the United
States. With some assistance from the DEA                U.S. Attorney's Office, Margarito and I
moved our wives, our children, our brother            his wife and children, our two sisters and
their children, our father, our mother, and       mother of two of my children. I knew that
once the people I have talked about today          out I was cooperating, they would trj to kill
me and my famiiy. As far as I know, no             knows where my famiiy is living and I am
being kept in protective custody.




                                                    I
                                                 -1 ~~
                                                    I                                       vc
                                                                                            '\'  \ '



                                                                                               GJTR 005 0241
Case: 1:09-cr-00383 Document #: 346-2 Filed: 11/08/14 Page 10 of 10 PageID #:2017




       This statement is an accurate and truthful summary to the best of my recollection. It
does not describe everything that I know about the events described or other events that are
not described.


Signed:




Pedro Flores




Dated: June 4, 2009




                                                                                       /
                                           -20
                                                 I



                                                                                    GJTR 005 0242
